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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,
         Plaintiff,                          Case No. 2:18-cr-20030-AC-DRG
v.                                           Hon. Avern Cohn

D-1   JOSEPH DELFGAUW,
          Defendant.
_______________________________/

                    PETITION TO AMEND ORDER
              SETTING CONDITIONS OF RELEASE (DOC #7)

1.    Defendant was arraigned on April 18, 2018.

2.    Prior to Defendant’s arraignment, Defendant was interviewed by Pretrial

Services.

3.    Defendant informed Pretrial Services he has twin daughters who reside in

Canada. Defendant has an enhanced driver’s license to allow him to travel to

Canada to see his daughters.      Pretrial Services stated they will not require

Defendant to surrender his enhanced driver’s license, but the Court must approve

travel to Canada.

4.    Judge Grand approved Defendant’s unrestricted travel to Ontario, Canada as

a condition of release. Judge Grand further ordered that Pretrial Services would

coordinate the notice or other requirements for Defendant to travel to Canada.


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5.    The Order Setting Conditions of Release (Doc #7) paragraph 7(g) restricts

Defendant to the continental United States unless consent of Pretrial Services.

6.    After the arraignment, Pretrial Services stated they will not allow Defendant

to travel to Canada unless the Court orders it.

7.    Pretrial Services further indicated a Petition would have to be filed to amend

paragraph 7(g) to include Ontario, Canada.

8.    The U.S. Attorneys’ office is aware of this request and did not object to

Defendant being allowed to travel to Canada to visit his daughters and placed this

on the record on April 18, 2018 during Defendant’s arraignment.

      Wherefore, Defendant requests this Court to amend Doc #7, paragraph 7(g)

to include travel within the continental United States and Ontario, Canada.

                                              Respectfully Submitted
                                              ERIC A. LADASZ, P.C.

                                              By:      /s/ Eric Ladasz
                                                    Eric Ladasz (P65354)
                                              Attorney for Defendant Delfgauw
                                              25121 Ford Road
                                              Dearborn, MI 48124
                                              (313) 274-2890
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Dated:       May 5, 2018




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                         CERTIFICATE OF SERVICE

      I, Eric Ladasz, certify that on May 5, 2018 I served a copy of a Petition to

Amend Order Setting Conditions of Release (Doc #7) and this Certificate of Service

on all attorneys of record with the Court by using the ECF system.



                                             By:    /s/ Eric Ladasz
                                                   Eric Ladasz




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